        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 1 of 26




            In the United States Court of Federal Claims
                                          No. 19-471L
                                   (Filed: December 3, 2021)
                                (Nunc Pro Tunc: March 23, 2021)

***************************************
ATS FORD DRIVE INVESTMENT, LLC        *
et al.,                               *              Trails Act; Indiana Law; Property Interest
                                      *              Conveyed via Release Executed Pursuant
                  Plaintiffs,         *              to Railroad Company’s Legislative Charter;
                                      *              Fee Simple Versus Easement; Cross-
v.                                    *              Motions for Summary Judgment; Request to
                                      *              Certify Questions to the Indiana Supreme
THE UNITED STATES,                    *              Court; Indiana Supreme Court’s Adherence
                                      *              to Its Prior Rulings
                  Defendant.          *
***************************************

Mark F. Hearne, II, St. Louis, MO, for plaintiffs.

Brian R. Herman, United States Department of Justice, Washington, DC, for defendant.

                                    OPINION AND ORDER

SWEENEY, Senior Judge

        Plaintiffs in this case, along with plaintiffs in five other cases before the undersigned,
own real property adjacent to a railroad line in Marion and Hamilton Counties, Indiana. 1 They
contend that the United States violated the Fifth Amendment to the United States Constitution by
authorizing the conversion of the railroad line into a recreational trail pursuant to the National
Trail Systems Act (“Trails Act”), thus acquiring their property by inverse condemnation. Four of
the cases, including this one, are proceeding in a coordinated manner, 2 and a subset of plaintiffs
from these cases (“Group 2 plaintiffs”) assert claims that require the resolution of a single
dispositive legal issue: whether a particular instrument by which the railroad company acquired
the portion of the railroad corridor adjacent to their parcels conveyed an easement or a fee simple

       1
         The six cases are Oldham v. United States, No. 18-1961L (consolidated with Overlook
At The Fairgrounds LP v. United States, No. 18-1962L); Pressly v United States, No. 18-1964L
(consolidated with Jones v. United States, No. 19-1375L); Bradley v. United States, No. 19-
400L; ATS Ford Drive Investment, LLC v. United States, No. 19-471L (“ATS Ford”); Episcopal
Diocese of Indianapolis v. United States, No. 19-881L (consolidated with Doyle v. United States,
No. 19-882L); and ID Castings, LLC v. United States, No. 19-1158L.
       2
           The four cases are Oldham, Pressly, Bradley, and ATS Ford.
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 2 of 26




estate. The parties filed nearly identical cross-motions for summary judgment in each case. As
explained in more detail below, the court denies plaintiffs’ motion and grants in part defendant’s
motion.

                                       I. BACKGROUND

       On January 19, 1846, the Indiana General Assembly enacted an “Act to incorporate the
Peru and Indianapolis Railroad Company.” 3 Pursuant to that legislative charter, the Peru and
Indianapolis Railroad Company (“PIRC”) was authorized to construct a railroad line within
Indiana originating in the town of Peru, running through the towns of Kokomo and Noblesville,
and terminating in Indianapolis. The legislative charter provided that the railroad corridor was to
be no more than eighty feet wide, and could be acquired using a number of mechanisms:

               Sec. 15. It shall be lawful for the corporation, either before or after the
       location of any section of the Road, to obtain from the persons through whose
       land the same may pass, a relinquishment of so much of the land as may be
       necessary for the construction and location of the road; as also, the stone, gravel
       and timber, and other materials that may be obtained on the said route, and may
       contract for stone, gravel, timber, and other materials that may be obtained from
       any land near thereto: and it shall be lawful for said corporation to receive by
       donations, gifts, grants, or bequests, land, money, labor, property, stone, gravel,
       wood, or other materials, for the benefit of said corporation . . . .

              Sec. 16. That in all cases where any person through whose land the road
       may run, shall refuse to relinquish the same, or when a contract by the parties
       cannot be made, it shall be lawful for the corporation to [initiate condemnation
       proceedings].

               ....

               Sec. 18. That if it shall be found necessary and advantageous to the
       location and construction of said road, the corporation shall have the right to lay
       the same along and upon any county or State road: Provided however, That
       before such location is made, the corporation shall make application to the county
       commissioners of the proper county, for such right; and said commissioners are
       hereby vested with power to grant the same, by an order entered upon their
       records: And provided also, That such right shall be granted on condition that the
       corporation shall leave a sufficiency of said State or county road in as good repair,
       for common use, as previous to such occupation.

Further, with respect to the PIRC’s acquisition of the railroad corridor, the charter provided
(footnote added):


       3
        The facts in this section are derived from the exhibits attached to the parties’ summary
judgment briefing and are not in dispute.

                                                -2-
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 3 of 26




               Sec. 19. That when said corporation shall have procured the right of way,
       as herein before provided, they shall be seized, in fee simple, of the right to such
       land, and they shall have the sole use and occupancy of the same, but not to
       interfere with the right of way of any Railroad company heretofore incorporated; 4
       and no person, body politic or corporate, shall in any way interfere with, molest,
       disturb or injure any of the rights or privileges hereby granted, or that would be
       calculated to detract from or affect the profits of said corporation.

        In accordance with its legislative charter, the PIRC acquired the portions of the railroad
corridor at issue in this case in the 1840s (primarily in 1848) and early 1850s (either in 1851 or
1853). Frequently, its acquisitions were accomplished using recorded instruments that will be
referred to generally as “releases.” All but two of the releases in the record before the court
include identical preprinted language: 5

               I, ________ of the county of ________ and State of Indiana, for, and in
       consideration of the advantages which can or will result to the public in general,
       and myself in particular, by the construction of the “PERU AND
       INDIANAPOLIS RAILROAD,” as now is, or may hereafter be, surveyed, or
       finally located, and for the purpose of facilitating the construction and completion
       of said work, do hereby, and for myself, my heirs, executors, administrators and
       assigns, RELEASE and RELINQUISH to the “PERU AND INDIANAPOLIS
       RAILROAD COMPANY” the right of way for so much of said road as may pass
       through or cut the following piece, parcel or lot of land, to wit: ________

               And I do further release and relinquish to the said PERU AND
       INDIANAPOLIS RAILROAD COMPANY all DAMAGES and right to
       DAMAGES which I might sustain or be entitled to, by reason of anything
       connected with or consequent upon the construction of said road or the repairing
       thereof.

Moreover, most of these releases include a third preprinted paragraph:

              And I do [license] and permit said Company, or any authorized agent of
       the same, to enter upon said land, and take therefrom any timber, stone, sand,

       4
          In the mid-nineteenth century, the Indiana General Assembly, drafters of real estate
conveyance instruments, and Indiana courts regularly used plural pronouns and verbs in
conjunction with collective nouns such as “corporation” and “company.” Although not preferred
in modern American English, this usage is common in British English, and was common in
American English in the years following the American Revolution. See Bryan A. Garner, A
Dictionary of Modern Legal Usage 170-71 (2d ed. 1995) (defining “collective nouns”). Due to
its prevalence, the court does not disturb this usage when quoting the PIRC’s legislative charter,
the conveyance instruments executed by the PIRC, and Indiana case law.
       5
         On some of the releases, minor handwritten additions and deletions were made to the
preprinted language. Those alterations do not affect the construction of the releases.

                                                -3-
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 4 of 26




       gravel, earth or other materials for the construction and repairing of said road
       from time to time.

        On all of the preprinted releases, a description of the “piece, parcel or lot of land” was
handwritten at the end of the first paragraph. Two of these releases included additional
handwritten language after the description. On the release executed by Silas McCole on March
9, 1853 (“McCole release”) was this handwritten clause: “and do further relinquish all damage
for earth taken out Side of the right of way and for earth put out Side the eighty feet or for using
other earth or materials taken to construct the Peru & Indianapolis Rail Road across said land.”
And on the release executed by Richard Shelley in September 1848 (“Shelley release”) was this
handwritten clause:

       the above Relinquishment is given in consideration of the President & Directors
       of the Peru & Indianapolis Rail Road Company paying the undersigned Seventeen
       Dollars & fifty cents and the company further agree to dig two pits for the
       undersigned where he may designate for the use of his fences where . . . the same
       may cross.

       The other two releases in the record before the court are entirely handwritten. The first
was executed by Daniel Lovett (“Lovett release”) and provided:

       This indenture made this Second day of Nov. AD 1848 between Daniel Lovett . . .
       and the Peru and Indianapolis Rail Road Company . . . , that the said Lovett for
       and in consideration of the advantages which can or will result to the public and
       to himself in particular by the construction of the Peru and Indianapolis Rail
       Road, as it is now located through the tract of land hereinafter described and for
       the purpose of facilitating the construction and completion of said work does
       hereby for himself and his heirs and assigns, release and relinquish to the Peru
       and Indianapolis Rail Road Company the right of way for so much of said Road
       as may pass through or cut the following piece parcel or lot of land, to wit,
       [description of land]. The foregoing grant and release is upon the following
       [agreement] and condition, to wit, the said Peru and Indianapolis Rail Road
       Company shall pay to the said Lovett for the land so taken and occupied by them
       at the rate of twenty dollars per acre, which in the wood land shall include the
       whole width from which it is necessary to cut off the wood and timber, and upon
       the residue of the land it shall include all that part occupied by the grade . . . and
       the fence enclosing the road. The said Rail Road Company agree to dig plank up
       and keep in repair pits at each and every place where any fence upon said tract of
       land now crosses the track of said Road or they may enclose the road with a good
       fence and keep the same in repair, and to pay for all the injury that may be done
       by means of said Road and the transportation of produce merchandise or
       passengers thereon, and by means of said pits to the live stock of any and all
       persons who may be occupants of the premises hereinbefore described before the
       said enclosing fences shall be constructed or while the same shall be out of repair.
       The said Rail Road Company agree to leave all of the apple trees uninjured which
       may stand upon said premises outside of the grade of said Road. The said Lovett

                                                 -4-
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 5 of 26




       reserves to himself his heirs and assigns all the wood and timber upon said
       premises standing or being within the survey of said Road, and the right to
       remove the same at all reasonable times. Said Lovett also reserves the right to
       cross the track of said Road upon said premises with teams and loaded vehicles at
       all convenient times and places. The said Rail Road Company agree to pay the
       said Lovett for the said release as follows, to wit, twenty five dollars by the first
       day of Nov. 1848, and the residue by the first day of February 1849.

The second was executed by Elijah James (“James release”) and provided:

       This indenture made this Second day of Nov. AD 1848 between Elijah James . . .
       and the Peru and Indianapolis Rail Road Company . . . , that the said Elijah James
       . . . in consideration of the advantages which can or will result to the public in
       general and to himself . . . in particular by the construction of the Peru and
       Indianapolis Rail Road, as the same is now located, and for the purpose of
       facilitating the construction of said work does hereby for himself . . . and for his
       . . . heirs and assigns, grant release and relinquish unto the said Peru and
       Indianapolis Rail Road Company the right of way for so much of said Road as
       may pass through or cut the following piece parcel or lot of land, to wit,
       [description of land], for the sum of one hundred and thirty seven dollars and fifty
       cents, to be paid as follows, to wit, one half of said sum shall be paid on the
       Second day of November AD 1848, and the other half shall be paid in three
       months from that date. The foregoing release is upon the following condition, to
       wit, that the said Elijah James reserves to himself . . . all the wood and timber now
       standing or being upon the track of said Road. The said Rail Road Company agree
       to dig two pits upon said Road sufficient to keep cattle sheep and hogs, and horses
       and . . . other live stock from passing over them, at such places upon the premises
       as the said Elijah James shall designate, and it is further agreed that the said Elijah
       James shall furnish timber and lumber for the construction of such pits and plank
       up the same.

        A railroad line was constructed, and a railroad operated, in the corridor acquired by the
PIRC. Eventually, in 1995, the line was purchased by three Indiana municipalities: the City of
Fisher, the City of Noblesville, and Hamilton County. In 2017, the municipalities advised the
Surface Transportation Board (“Board”) of their collective desire to invoke the Trails Act, 16
U.S.C. §§ 1241-1251, which, as amended, provides for the preservation of “established railroad
rights-of-way for future reactivation of rail service” by authorizing the interim use of such rights-
of-way as recreational and historical trails. Id. § 1247(d). The following year, they submitted
three separate requests to the Board, each relating to the portion of the railroad line for their
respective municipalities, for the issuance of a Notice of Interim Trail Use or Abandonment
(“NITU”). A NITU permits the discontinuation of rail service, the salvaging of track and
materials, and, if an agreement regarding trail use is not reached, the abandonment of the line.
49 C.F.R. § 1152.29(d)(1). The Board issued the three NITUs on December 21, 2018, and the
municipalities executed trail-use agreements in 2019.




                                                 -5-
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 6 of 26




        After the Board issued the NITUs, a number of suits were filed in this court in which
owners of parcels adjacent to the railroad line alleged that through the operation of the Trails Act
and the issuance of the NITUs, defendant had taken their property without paying just
compensation in violation of the Fifth Amendment. In June 2020, the plaintiffs in Oldham,
Pressly, Bradley, and ATS Ford proposed a coordinated approach to resolving their claims.
Specifically, they sought to divide themselves into three groups: Group 1 plaintiffs had no
outstanding liability issues and could proceed to damages; Group 2 plaintiffs had claims that
required the resolution of an essentially identical threshold title issue; and Group 3 plaintiffs had
other outstanding liability issues. Further, with respect to Group 2, plaintiffs proposed that the
court set a schedule for the parties to brief a motion to certify questions to the Indiana Supreme
Court that would affect the outcome of the Group 2 plaintiffs’ claims.

         In a July 22, 2020 order, the court adopted plaintiffs’ proposal, over defendant’s
objection, to divide plaintiffs into the three identified groups. However, it was not persuaded
that separately briefing whether to certify questions to the Indiana Supreme Court would be the
most efficient approach to resolving the issue presented by the claims of the Group 2 plaintiffs.
Rather, it directed the parties to brief cross-motions for summary judgment, while permitting
plaintiffs to request certification to the Indiana Supreme Court within their motions. It further
noted that it would not hear argument on these motions unless requested by one or more of the
parties.

        The Group 2 cross-motions for summary judgment are now fully briefed, and none of the
parties requested oral argument. 6 Thus, the motions are ripe for adjudication.

                                         II. DISCUSSION

        Summary judgment is appropriate when there is no genuine issue of material fact and the
moving party is entitled to a judgment as a matter of law. R. Ct. Fed. Cl. 56(a); Celotex Corp. v.
Catrett, 477 U.S. 317, 322 (1986). The primary issue addressed by the parties in their cross-
motions for summary judgment is straightforward: whether the releases by which the PIRC
acquired portions of its railroad corridor conveyed easements or fee simple estates. The relevant
facts are not in dispute, making this issue particularly well suited for resolution by summary
judgment. See Varilease Tech. Grp., Inc. v. United States, 289 F.3d 795, 798 (Fed. Cir. 2002)
(“Contract interpretation is a question of law generally amenable to summary judgment.”).

                                      A. The Claims at Issue

        As a threshold matter, the parties dispute whether it was appropriate for defendant to seek
summary judgment with respect to the claims of certain Group 2 plaintiffs whose property
interests were not affected by the releases described above. In its cross-motion for summary
judgment, defendant contends that although the claims of certain Group 2 plaintiffs are not

       6
          The briefing is substantively identical in all four cases. Accordingly, the court is filing
a substantively identical decision in each case. The only difference among the four decisions is
the case caption.

                                                 -6-
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 7 of 26




dependent on the interpretation of the releases, the binding Indiana Supreme Court precedent
construing the PIRC’s legislative charter applies in equal force to those claims, and therefore
those claims can be resolved. Plaintiffs respond that such claims are beyond the scope of the
summary judgment briefing ordered by the court.

       The parties’ disagreement arises from their competing interpretations of the court’s July
22, 2020 order. In that order, the court discussed the status of the claims of each of the three
groups of plaintiffs. For the Group 2 plaintiffs, the court concluded:

       [B]ecause the identical issues (pertaining to whether the Releases conveyed a fee
       simple interest or an easement to the PIRC) affects a significant number of
       plaintiffs in the moving plaintiffs’ cases, the court finds that a coordinated
       approach to resolving the issues is prudent. Consequently, the court will set a
       schedule for briefing cross-motions for summary judgment limited solely to these
       issues. . . . Due to the narrowness of the legal issues, the court believes that the
       parties’ motions can be resolved expeditiously.

Order 6. For the Group 3 plaintiffs, the court observed that “[t]he moving plaintiffs represent
that there may be non-Release-related threshold title issues with respect to these plaintiffs’
claims that prevents the parties from reaching an agreement on liability,” and advised that it
would “not schedule summary judgment briefing on any remaining threshold title issues before
the conclusion of summary judgment briefing related to the Releases.” Id. at 7. Then, in
providing a schedule for further proceedings, the court directed the filing in each case of a notice
identifying the plaintiffs “(1) that are eligible to proceed to the damages phase (Group 1
plaintiffs), (2) for which the government’s liability depends solely on how PIRC’s legislative
charter and the Releases are interpreted (Group 2 plaintiffs), and (3) that have claims with other
unresolved threshold title issues (Group 3 plaintiffs).” Id. at 8. Finally, the court introduced the
summary judgment briefing schedule with the following directive: “With respect to the plaintiffs
that assert claims for which liability depends solely on the interpretation of the Releases and/or
the PIRC legislative charter, the parties shall brief cross-motions for summary judgment . . . .”
Id. at 9.

        Defendant interprets the court’s order to mean that it should brief issues that involved
construction of the PIRC’s legislative charter, regardless of whether a release was at issue. It
further remarks that some of the plaintiffs placed in Group 2 do not assert claims dependent on
the construction of a release, and therefore those claims are properly before the court on
summary judgment. Plaintiffs acknowledge that some plaintiffs with claims not dependent on
the interpretation of a release were included in Group 2, but assert that the court’s order should
be read to limit summary judgment briefing to those claims that required the construction of a
release.

         When it issued its order, the court understood that plaintiffs intended to include in Group
2 only those plaintiffs whose claims depended on the construction of a release, and recognized
that it was defendant’s position that reference to the PIRC’s legislative charter (and certain
Indiana Supreme Court precedent) was necessary for such construction. Thus, it described the
“narrow[]” issues that would be addressed for the Group 2 plaintiffs on summary judgment as

                                                 -7-
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 8 of 26




those that “pertain[ed] to whether the Releases conveyed a fee simple interest or an easement
. . . .” It also stated that it would not schedule briefing on any unresolved “non-Release-related
threshold title issues before the conclusion of summary judgment briefing related to the
Releases.” The court did not intend for its subsequent references to the PIRC’s legislative
charter to broaden the scope of the summary judgment motions. Thus, even if defendant is
correct that a decision regarding the interplay of the releases, legislative charter, and state-court
precedent may compel or strongly support a certain result for other claims, the court declines to
render summary judgment on those claims through the motions before the court.

         In the table below, the court identifies the claims (by case, release, and claim number)
that it will address in this decision: 7

            Release     Oldham                    Pressly                  Bradley      ATS
                                                                                        Ford
           Bradley                 24, 47, 51, 114, 136, 142, 186,
                                   197, 224, 225, 266a, 266b, 301,
                                   302, 307
           Cropper                 115, 119a, 119b, 228, 236a              36, 37      31
           Culbertson   12                                                 24
           James        16, 21,    5, 43a, 43b, 43c, 43d, 59, 86, 121,     27, 38      36, 37
                        24         173, 180, 254, 257
           Lovett       4          11, 60, 189                                         41, 42,
                                                                                       43, 44,
                                                                                       45
           McCole                  157                                                 1
           Oaput/       30         135c
           Opput 8
           Phipps       15         37, 96, 125, 126, 131, 135a, 185,       20, 29      28
                                   233, 281
           Shelley                 236b                                                30
           Silvey                  20, 164



       7
          Several claims appear in the table more than once because their resolution depends on
the construction of more than one release: Oldham claim 9; Pressly claims 71, 226, and 289; and
Bradley claim 24. In addition, three claims in the table are identified by plaintiffs as belonging
to a Group 2 plaintiff but do not appear in Exhibit 5 to defendant’s cross-motion for summary
judgment: Pressly claims 46, 157, and 303.
       8
          In their table setting forth the claims of the Group 2 plaintiffs, plaintiffs in Pressly
identify the source conveyance for claim 135c as “Gappert-Deed Book 182 & Page 142.” It is
apparent that this “Gappert” conveyance is the same as the “Wm. Oapert Release” identified by
the Oldham plaintiffs as the source conveyance for claim 30, since the Interstate Commerce
Commission (“ICC”) valuation map and parcel number (V9 3/7) are the same for both
conveyances.

                                                 -8-
        Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 9 of 26




           Smith                   10, 49, 73, 77, 82, 91, 105, 113,   24, 34       33
                                   139, 178, 196, 201, 273, 303
           Sterritt                71, 183
           Sutherland              14, 167a, 167b, 245                 18
           Threlkell 9   19, 33    46
           Weever        32        2, 8, 31a, 31b, 33, 65(b), 90, 98,  11
                                   100, 107, 152, 154, 190, 202, 212,
                                   230, 232, 286
           West                    45a, 45b, 45c, 45d, 71, 177a, 177c,              26
                                   223, 279
           Wright        9, 10     42, 52, 67a, 67b, 72 (part), 10 75,
           (1848)                  209a, 209b, 226, 289
           Wright                  17, 21a, 21b, 226, 277
           (undated)
           Young         9         289, 296, 297

Relatedly, although plaintiffs included the following claims in Group 2, they are not solely
dependent on the construction of a release. Thus, the court will not address them in this decision
and instead moves them into Group 3:

                                Case                    Claim
                             Oldham     6, 13, 22
                             Bradley    16, 19, 28, 11 32, 33
                             ATS Ford   2, 3, 4, 5, 6, 7, 8, 10, 11, 12, 27 12




       9
         Plaintiffs in ATS Ford identified the release executed by Willis Threlkell on February
12, 1849 (“Threlkell release”) as one of two source conveyances for claim 34, but included claim
34 in Group 3. Thus, the court does not address this claim in this decision.
       10
          The parcel described in Pressly claim 72 is adjacent to two segments of the railroad
corridor: one acquired by the PIRC via a release and one acquired by the PIRC via adverse
possession. Only the acquisition of the former segment is at issue in this decision.
       11
            Plaintiffs in Bradley identified two source conveyances for claim 28: a release in the
court’s record and an instrument referred to as “Anna M. Sutton, Book 291, Page 478- IN
HAND.” Because the latter instrument is neither identified as a release nor in the record before
the court, the court cannot address Bradley claim 28 in this decision.
       12
           Plaintiffs in ATS Ford identified the source conveyance for claim 27 as “Jwright” and
the relevant ICC valuation map and parcel number as V9 4/13. It is unclear whether this source
conveyance is the release executed by James T. Wright in 1848 (“1848 Wright release”), the
release executed by James T. Wright on an unspecified date in the 1840s (“undated Wright
release”), or neither; plaintiffs in the other cases associate the 1848 Wright release and undated
Wright release only with the following ICC valuation maps and parcel numbers: V9 3/12; V9
                                                 -9-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 10 of 26




Having specified the claims at issue, the court turns to their resolution.

               B. The Property Interest Acquired by the PIRC via the Releases

        The Fifth Amendment prohibits the federal government from taking private property for
public use without paying just compensation. U.S. Const. amend. V. To establish a taking, a
plaintiff must first “identif[y] a cognizable Fifth Amendment property interest that is asserted to
be the subject of the taking.” Casitas Mun. Water Dist. v. United States, 708 F.3d 1340, 1348
(Fed. Cir. 2013); accord Klamath Irrigation Dist. v. United States, 635 F.3d 505, 520 n.12 (Fed.
Cir. 2011) (“It is plaintiffs’ burden to establish cognizable property interests for purposes of their
takings . . . claims.”). To demonstrate a cognizable property interest in a Trails Act case, a
plaintiff must establish, among other things, that the railroad company acquired an easement for
railroad purposes. Ellamae Phillips Co. v. United States, 564 F.3d 1367, 1373 (Fed. Cir. 2009);
Preseault v. United States (“Preseault II”), 100 F.3d 1525, 1533 (Fed. Cir. 1996) (en banc). In
general, state law governs the determination of the property interest acquired by the railroad
company. See Preseault v. Interstate Com. Comm’n, 494 U.S. 1, 8 (1990) (“State law generally
governs the disposition of reversionary interests . . . .”); Preseault II, 100 F.3d at 1534 (“The
question of what estates in property were created by these turn-of-the-century transfers to the
Railroad requires a close examination of the conveying instruments, read in light of the common
law and statutes of [the state] then in effect.”). Moreover, the acquisition of property rights is
governed by the law in effect at the time the rights were acquired. See Hash v. United States,
403 F.3d 1308, 1315 (Fed. Cir. 2005); Preseault II, 100 F.3d at 1534.

        As noted above, the issue before the court is whether the releases by which the PIRC
acquired portions of its railroad corridor adjacent to parcels owned by the Group 2 plaintiffs
conveyed easements or fee simple estates. Defendant contends that the Indiana Supreme Court
has concluded that the releases, when read in conjunction with the PIRC’s legislative charter,
conveyed a fee simple estate to the PIRC. It relies on the Indiana Supreme Court’s decisions in
Newcastle & Richmond Railroad Co. v. Peru & Indianapolis Railroad Co., 3 Ind. 464 (1852),
and Indianapolis, Peru & Chicago Railway Co. v. Rayl, 69 Ind. 424 (1880). Plaintiffs respond
that the statements that defendant relies on from those decisions are mere dicta and that Indiana
courts have declined to broadly apply that purported dicta in subsequent decisions. Moreover,
they contend that those decisions may no longer be good law in light of more recent Indiana
Supreme Court precedent that addresses the use of the term “right of way” in a deed.

       As it must, the court begins its analysis by considering the law in effect in Indiana at the
time the releases at issue were executed.




4/1; V9 4/10; and V9 4/12. Accordingly, the court cannot address ATS Ford claim 27 in this
decision.

                                                -10-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 11 of 26




       1. Railroad Law and Property Law in Indiana in the Mid-Nineteenth Century

        Indiana became a state on December 11, 1816. Resolution for admitting the state of
Indiana into the Union, 3 Stat. 399 (1816). When the Indiana General Assembly enacted the
statute incorporating the PIRC almost thirty years later in 1846, Indiana did not have a law
governing the incorporation of railroad companies. See Douglass v. Thomas, 2 N.E. 562, 564
(Ind. 1885); see also Ind. Rev. Stat. ch. 83 (1852) (reflecting that the “Act to provide for the
incorporation of Rail Road Companies” was approved on May 11, 1852); Vandalia R.R. Co. v.
Topping, 113 N.E. 421, 423 (Ind. App. 1916) (recognizing that “the law providing for the
incorporation of railroad companies approved May 11, 1852,” governed the construction of the
release at issue). Rather, the legislature incorporated railroad companies by enacting individual
charters. Louisville & Ind. R.R. Co. v. Ind. Gas Co., 829 N.E.2d 7, 9 n.1 (Ind. 2005).
Consequently, different railroad companies could have different powers to acquire land to
construct their railroads. See, e.g., Water Works Co. of Indianapolis v. Burkhart, 41 Ind. 364,
375 (1872) (observing that “the legislature may grant to different companies power to take a
greater or less quantity of land, and such grant will be conclusive as to the necessity for the uses
specified”). However, regardless of a legislative charter’s provisions, a railroad company
retained its common-law right to “make contracts” related to the acquisition of real estate. See
Cleveland, Columbus, Cincinnati & Indianapolis Ry. Co. v. Coburn, 91 Ind. 557, 559-60 (1883)
(per curiam).

         In a statute enacted on May 11, 1852, the Indiana General Assembly standardized the
incorporation of railroad companies. See Ind. Rev. Stat. ch. 83 (1852). However, existing
railroad companies continued to operate under their pre-1852 legislative charters unless they
subsequently accepted the terms of the new statute. See id. at ch. 83, § 36 (“All existing railroad
companies may acquire all of the powers or benefits conferred by this act, by filing an
acceptance thereof in the office of the Secretary of State . . . , and the acceptance of any part of
this act shall be deemed to be an acceptance of the whole act, and a surrender of the act under
which such company may be organized . . . .”). There is no evidence in the record indicating that
the PIRC accepted the 1852 statute in lieu of its legislative charter.

 2. Indiana Supreme Court Decisions Directly Addressing the PIRC’s Legislative Charter
                      and Acquisition of the Railroad Corridor

        The Indiana Supreme Court first considered the PIRC’s legislative charter in Newcastle.
In that case, the PIRC sought to enjoin a competitor from constructing a railroad, 3 Ind. at 465,
contending that the competitor could not cross the PIRC’s railroad without violating the PIRC’s
“exclusive right to the use of the ground over which the track of their road passes,” id. at 468.
The court began its analysis by describing the relevant provisions of the charter:

       Section 15 of the charter of said company authorizes them to obtain releases of
       the land along the line of the road; section 16 permits them, where a voluntary
       release is refused, to have the land condemned in the manner usual in such cases;
       and section 19 declares “that when said corporation shall have procured the right
       of way” in either of said modes, “they shall be seized in fee simple of the right to
       such land, and they shall have the sole use and occupancy of the same,” etc.

                                                -11-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 12 of 26




Id. It then rejected the PIRC’s contention that section 19 was “a contract on the part of the state
for the exclusive possession by said company of the lands mentioned,” explaining its view that
section 19 was

       simply intended as declaratory of the effect which the releases and condemnations
       of land spoken of in the 15th and 16th sections should have; that is, whether they
       should be taken to convey an easement, a right of way merely, or a fee-simple
       title, and declaring it should be the latter; that they should have the same force
       that deeds from the proprietors in the usual form to the company, conveying to
       their sole use, etc., would have, subject of course, as expressly declared in the
       section, to all previous grants of rights of way, and subject, impliedly of course, as
       all ordinary grants of land by one person to another, or by the state to a person,
       are, to the right of the state to take the lands granted, on compensation made, for
       the public use.

Id. In other words, it concluded that releases executed pursuant to the PIRC’s legislative charter
conveyed fee simple title, subject to existing easements and the state’s authority to later take the
land for public use upon providing compensation.

         Notably, the Indiana Supreme Court in Newcastle was concerned only with the PIRC’s
legislative charter and not any specific conveyances made pursuant to the charter. However,
almost thirty years later, it rendered decisions in two cases involving such conveyances. The
first case concerned a deed executed in 1951 in which the landowners agreed to “give, grant,
convey and confirm” nine lots that “were the property” of one of the landowners to the PIRC to
use as a railroad depot. Indianapolis, Peru & Chi. Ry. Co. v. Hood, 66 Ind. 580, 583 (1879). A
successor to the PIRC stopped using the lots for a depot in 1869, and the landowners’ heirs sued
to quiet title in the lots. Id. at 581-82. Without mentioning the PIRC’s legislative charter, the
court concluded that the railroad company “took and held the said lots . . . upon the condition
subsequent” that it “permanently locate and construct its depot . . . upon the said lots,” that the
condition was breached when the railroad company stopped using the lots for a railroad depot,
and that “the ownership [of the lots] reverted to” the landowners’ heirs. Id. at 584; accord id. at
585 (holding that “breach of the condition subsequent in the said deed . . . worked a forfeiture of
the [railroad company]’s estate in said lots under said deed, and rendered them subject to be
recovered back by the [landowners’] heirs”).

        In the second case, Rayl, the plaintiffs owned lots adjoining a strip of land that the public
had begun to use as a street, which, in turn, adjoined a railroad line owned by a successor to the
PIRC. 69 Ind. at 424, 427-28. The railroad company, without initiating condemnation
proceedings, constructed a side track on the land being used as a street, causing injury to the
plaintiffs. Id. at 424-25. The issue to be decided by the Indiana Supreme Court was whether the
evidence was sufficient to support the trial court’s finding that the railroad company did not own
the strip of land. Id.

       After describing the relevant sections of the PIRC’s legislative charter, the court set forth
the contents of the original conveyance to the PIRC. Id. at 426-27. In contrast to the

                                                -12-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 13 of 26




conveyance at issue in Hood––a deed in which the landowners agreed to “give, grant, convey
and confirm” nine lots to the PIRC, 66 Ind. at 583––the conveyance in Rayl was a release
(“Richmond release”) that used language nearly identical to the language appearing in most of
the releases at issue in this case:

       I, Corydon Richmond, of the county of Howard and State of Indiana, for and in
       consideration of the advantages which can or will result to the public in general
       and myself in particular, by the construction of the Peru and Indianapolis
       Railroad, as now is, or may hereafter be, surveyed or located, for the purpose of
       facilitating the construction and completion of said work, do hereby, and for
       myself, my heirs, executors, administrators and assigns, release and relinquish to
       the Peru and Indianapolis Railroad Company the right of way for so much of said
       road as may pass through and out the following piece or parcel of land, to wit:
       The south-east quarter of section 25, township 24 north, range 3 east; and I do
       further release and relinquish to said Peru and Indianapolis Railroad Company all
       damages, and right to damages, which I may sustain or be entitled to by reason of
       anything connected with, or consequent upon, the construction of said road or
       road-bed.

69 Ind. at 426-27. The plaintiffs argued that the Richmond release was void for two reasons:
“because it did not specify the extent or width of the land intended to be relinquished by it” and
because, “at the time the relinquishment was made, the legal title to the land was not in
Richmond, but in the United States.” Id. at 428; see also id. at 426-27 (indicating that although
Mr. Richmond possessed and occupied the tract of land at issue when he executed the release in
1847, the United States did not patent and convey the tract to Mr. Richmond until 1849 13).

        To address the plaintiffs’ first contention, the court referred to the PIRC’s legislative
charter. It observed that the charter allowed the PIRC to use a strip of land not exceeding eighty

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           During the nineteenth century, Congress enacted a series of laws allowing citizens to
acquire public land from the federal government; the government conveyed title to the land by
issuing a patent. See United States v. Schurz, 102 U.S. 378, 396 (1880); accord Swendig v.
Wash. Power Co., 265 U.S. 322, 331 (1924) (“[W]hen a patent issues in accordance with
governing statutes, all title and control of the land passes from the United States.” (citation
omitted)). See generally Russian-Am. Packing Co. v. United States, 199 U.S. 570, 577-78
(1905) (“[T]he occupation and cultivation of public lands with a view to pre-emption confers a
preference over others in the purchase of such lands by the bona fide settler . . . . [A] vested
right, under the pre-emption laws, is . . . obtained when the purchase money has been paid, and
receipt from the proper land officer given to the purchaser. . . . When this payment is made, the
other prerequisites having been complied with, the settler is then entitled to a certificate of entry
from the local land office and ultimately to a patent.”). Indeed, the patent referenced in Rayl
reflects that the United States conveyed the specified tract to Mr. Richmond and his heirs
“forever.” U.S. Gen. Land Office, Bureau of Land Mgmt., Land Patent Accession No.
IN1940__.455 (Apr. 10, 1849), https://glorecords.blm.gov/search/default.aspx?searchTabIndex
=0&searchByTypeIndex=0 (choose “Indiana” from the state dropdown; then enter “Richmond”
and “Coryden” in the name fields; then click “Search Patents”; then click on the image icon).

                                                -13-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 14 of 26




feet in width, and concluded that “under section 15 of [the charter], a general relinquishment of
the right of way over a tract of land, without specifying any width, conferred upon that company
the right to take and appropriate a strip of ground, over the tract specified, not exceeding eighty
feet in width.” Id. at 428-29. It further explained that “the act of incorporation thus form[ed] a
part of the contract of relinquishment.” Id. at 429.

        In addressing the plaintiffs’ second contention, the court again referred to the PIRC’s
legislative charter and, without mentioning Newcastle, 14 concluded:

       That relinquishment, as we have construed it, supplemented by section 19 . . . of
       the act of incorporation, enacting that the right of way, when acquired, should be
       held by the company in fee-simple, purported to convey to the company an estate
       in fee-simple to so much of the land described in it as constituted the right of way
       through the land under such relinquishment. Under such circumstances, whatever
       title Richmond subsequently acquired to the land relinquished by him enured to
       the benefit of the company.

Id. Mr. Richmond subsequently acquired full title to the land from the United States. Id. at 427.
The court therefore held “that the strip of ground in controversy, . . . was not, and never had
been, a public street of the town . . . , but was at the time the side-track complained of was laid
down, and has since continued to be, the property of the [railroad company].” Id. at 429-30; see
also id. at 430 (indicating that it was reversing the trial court’s judgment). In other words, under
the Richmond release, the PIRC obtained a fee simple interest in the strip of land on which it
constructed the side track.

            3. Later References to Newcastle and Rayl by Indiana Appellate Courts

        Although the Indiana Supreme Court has not had further occasion to construe the PIRC’s
legislative charter or conveyances executed pursuant to the charter, both it and the intermediate
state appellate court have mentioned or discussed Newcastle and Rayl in subsequent decisions.
A brief summary of the relevant decisions, presented chronologically, follows.

        In its 1872 decision in Burkhart, the Indiana Supreme Court addressed a dispute over
ownership of a strip of land on which a canal was constructed, and needed to determine the
interest that the State of Indiana acquired through appropriation. 41 Ind. at 365, 368. In
discussing the power of the State to appropriate the land, the court cited Newcastle and other
decisions for the proposition that “the legislature is the sole and exclusive judge of the public
exigency, and of the mode and manner of exercising the right of taking the property required,
subject only to the limitation of making proper provision for ascertaining and making
compensation for the property taken.” Id. at 375-76.


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            The court also did not mention Hood, likely because that case involved a deed rather
than a release, 68 Ind. at 583, and because the charter was not part of the record before the court,
see id. (indicating that the statement of facts, which did not refer to the charter, and the deed
“constituted all the evidence given in the cause”).

                                                -14-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 15 of 26




        The Indiana Supreme Court next mentioned Newcastle in its 1883 decision in Coburn.
91 Ind. at 559-60. In that case, a railroad company sought to quiet title in a strip of land that had
been enclosed, in part, by adjoining landowners. Id. at 557-58. The railroad company’s
predecessor was chartered in 1848. Id. at 558. Section 21 of the charter, which was nearly
identical to section 19 of the PIRC’s legislative charter, provided that “when said company shall
have procured the right of way as hereinbefore provided they shall be seized in fee simple of the
right of said land, and shall have the sole use and occupation of the same, and no person . . . shall
in any way interfere therewith, or disturb, molest or injure any of the rights and privileges hereby
granted, so as to detract from or affect the profits of said corporation.” Id. at 558-59 (omission in
original). The court observed that “[t]he language of this section is somewhat obscure” and that
“[i]n the absence of any judicial construction of this language, it might be supposed to mean that
the company shall be the owner of the right relinquished, which might be a fee, or a less estate,
or a mere easement, according to the terms of the written relinquishment.” Id. at 559. “But,” it
noted, it construed “the very same language, in another charter” in Newcastle. Id. It remarked
that “[u]nder [that] construction, an unconditional relinquishment of the land undoubtedly would
have vested in the railroad company the absolute fee simple of the land, but the statute under
consideration can not be held to impair the right to make contracts.” Id. at 559-60.

         The court concluded that the release at issue was not unconditional. Id. at 561. In the
release, the land was described as “[o]ut-block 182” and the landowner “reserve[d] the right to
lay down and keep a railroad track in front of the lots adjoining the road, and also of connecting
the same with the track of the railroad . . . .” Id. at 560-61. Other evidence reflected that the
railroad company intended to build its depot on out-block 181. Id. at 561. The court determined
that the intent to build the depot on out-block 181, the location of the track on out-block 182, and
the railroad company’s acceptance of the release “were parts of one transaction,” and that the
parties’ intention was for the construction and permanent maintenance of a depot and a track
approaching the depot. Id. It therefore held “that the relinquishment in controversy created in
the railroad company an estate upon condition subsequent, liable to be defeated upon the non-
performance of the condition.” Id. at 562.

        Subsequently, in its 1885 decision in Douglass, the Indiana Supreme Court described the
holding of Rayl as being tied to the specific facts of that case: “It was held in [Rayl] that an
instrument conveying the right of way to the railroad company there concerned, supplemented by
the nineteenth section of the act under which it was incorporated, did [convey a fee simple].”
Douglass, 2 N.E. at 563-64. It further observed that “[t]he act of incorporation in that case . . .
expressly provided that the right of way, when acquired, should be held in fee-simple by the
corporation.” Id. at 564; cf. id. (distinguishing Rayl because the record before it did not include
any information regarding the nature of the railroad company’s charter, requiring it to “construe
the deed according to the terms employed in the instrument”).

        Less than three years later, in Quick v. Taylor, the Indiana Supreme Court determined
who owned a strip of land originally acquired by a railroad company via condemnation “under
the general railroad law in force since 1853.” 16 N.E. 588, 589 (Ind. 1888). It acknowledged its
holding in Burkart that the state legislature intended to appropriate the land to construct the canal
at issue in that case in fee simple, but noted that the “ruling has been followed reluctantly, and
has not been applied except to lands acquired under the internal improvement act of 1836.” Id.

                                                -15-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 16 of 26




Then, it remarked that “the rule that controlled the decision of [those] cases,” including Rayl,
“had not been applied to the taking of land by private or merely quasi public corporations, in the
absence of an express statute authorizing the appropriation of the fee-simple,” an apparent
reference to railroad company legislative charters specifically authorizing the appropriation of
fee simple estates. Id. It concluded:

       The doctrine generally accepted is that the right acquired by the power of eminent
       domain extends only to an easement in the land taken, unless the statute plainly
       provides for the acquisition of a larger interest. There can be no doubt but that the
       state has the power to take land in fee for a public use; nor can it be doubted but
       that power so to take land may, by express enactment, be conferred upon a
       railway or other corporation; but unless the act from which the power to take is
       derived in express terms confers the power to take the fee, or unless the retention
       of the fee by the land-owner would be necessarily inconsistent with the use for
       which the land was to be appropriated, the presumption will be indulged that only
       an easement is to be taken.

Id. at 589-90 (citations omitted).

        The Appellate Court of Indiana discussed Newcastle and related decisions in Meyer v.
Pittsburgh, Cincinnati, Chicago & St. Louis Railway Co., 113 N.E. 443 (Ind. App. 1916). In that
case, a railroad company sought to quiet title to a tract of land that it had occupied adversely for
longer than the statutory period. Id. at 443-44. It asserted that its adverse possession resulted in
fee simple title, rather than a prescriptive easement, relying in part on the provisions of its
predecessor’s legislative charter, which was enacted in 1832. Id. at 444-45. In that charter,
sections 14 and 15 provided for the acquisition of a right of way by, respectively, relinquishment
and condemnation, and section 19, which was nearly identical to section 19 of the PIRC’s
legislative charter, provided:

       That when said corporation shall have procured the right of way as herein
       provided, they shall be seised in fee simple of the right to use such land, and shall
       have the sole use and occupancy of the same; and no person . . . shall in any way
       interfere with, molest, disturb or injure any of the rights and privileges hereby
       granted, or that could be calculated to detract from or affect the profits of such
       corporation.

Id. at 445 (omission in original). The court remarked that “[l]iterally construed, the language
used” in section 19 “seems to refer to a right in the land as distinguished from the land itself,”
id., and observed that “a fee may exist in an easement,” id. (quoting Branson v. Studabaker, 33
N.E. 98, 104 (Ind. 1892)). It recognized, however, that “the question of the title acquired by
relinquishment or condemnation under the act is not an open one” and proceeded to describe the
relevant holdings of Newcastle and Coburn. Id. at 445-46; accord id. at 446 (“[I]t is recognized
that under the [legislative charters discussed in this case, Newcastle, and Coburn], the courts
hold that by condemnation or by release, in the absence of a contract to the contrary, the lands
involved are acquired in fee.”). Ultimately, the court distinguished the case before it, concluding
that “[w]hatever interest or estate [the railroad company] owns in the land involved here is based

                                               -16-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 17 of 26




on the fact that the use of such lands for the full prescriptive period, or in other words, such
interest or estate, is in the nature of a prescriptive right.” Id. at 447. Thus, it held that the
railroad company held merely an easement over the land for railroad purposes. Id.

        There are several common threads running through these decisions. First, the courts
acknowledged that Newcastle and Rayl were binding precedent. See Quick, 16 N.E. at 589;
Douglass, 2 N.E. at 564; Coburn, 91 Ind. at 559-60; Burkart, 41 Ind. at 375-76; Meyer, 113 N.E.
at 445-46. Second, the courts recognized, either explicitly or implicitly, that the state legislature
could, by statute, define the scope of the property interest that could be acquired by
condemnation or relinquishment. See Quick, 16 N.E. at 589-90 (condemnation); Douglass, 2
N.E. at 563-64 (any acquisition); Coburn, 91 Ind. at 559-60, 562 (relinquishment); Burkart, 41
Ind. at 375-76 (condemnation); Meyer, 113 N.E. at 445-46 (condemnation and relinquishment).
Third, the courts affirmed that a railroad company retained the right to contract for a greater or
lesser estate than what was described in its legislative charter. See Coburn, 91 Ind. at 559-60;
Meyer, 113 N.E. at 446. Finally, neither court disturbed the holding of Newcastle that the
PIRC’s legislative charter provided that the releases it authorized conveyed fee simple estates or
the holding of Rayl that the Richmond release, executed pursuant to the PIRC’s legislative
charter, conveyed a fee simple estate.

                4. The Relevant Portions of Newcastle and Rayl Are Not Dicta

        Notwithstanding the Indiana Supreme Court’s treatment of Newcastle and Rayl as settled
law, plaintiffs argue that the discussions in those decisions of section 19 of the PIRC’s legislative
charter and the Richmond release are dicta because they had no effect on the court’s ultimate
conclusions in those decisions. See Nat’l Am. Ins. Co. v. United States, 498 F.3d 1301, 1306
(Fed. Cir. 2007) (defining dicta as statements that are not necessary for a decision). Plaintiffs are
mistaken.

        As described above, the issue in Newcastle was whether the PIRC held the exclusive
right to the land on which it constructed its railroad. 3 Ind. at 468. The PIRC argued that its
exclusive right derived from section 19 of its legislative charter. Id. The Indiana Supreme Court
disagreed, explaining that section 19 merely declared that the effect of a release or condemnation
under the charter was to convey a fee simple estate (as opposed to an easement or a right of
way), and did not disturb any preexisting easements over the land or the state’s authority to
permit the condemnation of the land. Id. The court determined that the PIRC did not have the
exclusive right to the land it acquired to construct its railroad, and to reach that conclusion it
found it necessary to determine both the scope of the rights actually granted by the PIRC’s
legislative charter and whether those rights were exclusive, even as to the State. It could not
engage in such an analysis without determining how section 19 of the charter should be
construed. Consequently, the court’s construction of section 19 is not dicta. Accord Coburn, 91
Ind. at 559-60 (recognizing Newcastle’s construction of section 19 of the PIRC’s legislative
charter as binding authority); Meyer, 113 N.E. at 445 (same).

       In Rayl, the issue before the Indiana Supreme Court was whether a successor to the PIRC
owned a strip of land, adjacent to its line, that had been put to use as a public street. 69 Ind. at
424-25. The railroad company claimed ownership of the land through the Richmond release. Id.

                                                 -17-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 18 of 26




at 424-25, 428. But, according to the plaintiffs, the Richmond release was void because it did
not specify the width of the strip of land and because Mr. Richmond did not own the land at the
time he executed the release. Id. at 425, 428. The court addressed both contentions by analyzing
the Richmond release in light of the provisions of the PIRC’s legislative charter, and concluded
that they lacked merit. Id. at 428-30. Notably, with respect to the second contention, the court
concluded that the Richmond release, when read in conjunction with section 19 of the PIRC’s
legislative charter, “purported to convey to the company an estate in fee-simple to so much of the
land described in it as constituted the right of way through the land under such relinquishment,”
and that Mr. Richmond relinquished to the PIRC “whatever title [he] subsequently acquired to
the land . . . .” Id. at 429; accord Ind. Rev. Stat. ch, 28, § 20 (1843) (“A deed of release or quit
claim of the usual form shall pass all the estate which the grantor had and could convey by a
deed of bargain and sale.”). Because Mr. Richmond subsequently acquired title to the land from
the United States via a patent, 69 Ind. at 427, the court held that the strip of land “was . . . the
property of the” railroad company, id. at 429-30. 15

        Clearly, the Indiana Supreme Court could not have concluded that the railroad company
owned the land without first determining that the Richmond release conveyed a fee simple estate
to the PIRC. Accordingly, its construction of the Richmond release is not dicta. Moreover,
plaintiffs’ characterization of Rayl as a case regarding the width of the right of way granted by
the Richmond release ignores the remainder of the court’s analysis of why the Richmond release
was not void, as well as court’s conclusion that the PIRC acquired via the Richmond release all
that Mr. Richmond owned––a fee simple estate. In short, the overarching issue in Rayl was who
owned the strip of land at issue, and the Indiana Supreme Court concluded that pursuant to the
Richmond release, the owner was the railroad company. Accord Douglass, 2 N.E. at 563-64
(recognizing Rayl’s construction of the Richmond release, in light of section 19 of the PIRC’s
legislative charter, as binding authority).

        In addition to contending that the discussions of section 19 of the PIRC’s legislative
charter and the Richmond release in Newcastle and Rayl are dicta, plaintiffs advance the related
argument that neither decision is relevant to this case because they did not concern fee-simple-
versus-easement disputes. Stated differently, plaintiffs contend that Newcastle and Rayl should
not control this court’s construction of the releases at issue because the Indiana Supreme Court
was not asked to, and did not, address whether an instrument executed by the PIRC conveyed a
fee simple estate or an easement. But the fact that those cases did not involve such a dispute
does not render the decisions inconsequential. To the contrary, the Indiana Supreme Court’s
analysis and construction of the PIRC’s legislative charter and the Richmond release, both
separately and together, are directly relevant to how this court undertakes those same tasks.
Accordingly, the court rejects plaintiffs’ suggestion that Newcastle and Rayl should be
disregarded.



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           Because the Indiana Supreme Court concluded that the PIRC acquired Mr.
Richmond’s title to the land, the fact that “a fee may exist in an easement,” Branson, 33 N.E. at
104, is, contrary to plaintiffs’ contention, of no moment. Mr. Richmond held a fee simple estate,
and therefore conveyed a fee simple estate, not an easement, to the PIRC.

                                               -18-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 19 of 26




 5. The Indiana Supreme Court Has Not Abrogated Newcastle and Rayl With Respect to
                Releases Executed Under the PIRC’s Legislative Charter

       Plaintiffs next argue that even if the court determines that Newcastle and Rayl have some
relevance to the construction of the releases at issue in this case, Indiana courts no longer
subscribe to the proposition that a release executed in favor of a railroad company conveys a fee
simple estate. This contention misses the mark.

         The circumstances in this case are unique: at issue are releases (1) executed by a
particular railroad company pursuant to a pre-1852 legislative charter, (2) executed when the law
provided that such releases conveyed all of the interest held by the landowner, and (3) that are
nearly identical to a release construed by the Indiana Supreme Court to convey all title held by
the landowner. Not one of the later decisions discussed by plaintiffs as demonstrating the
purported shift in how railroad charters are viewed by Indiana courts satisfy all three of these
criteria. See, e.g., Ross, Inc. v. Legler, 199 N.E.2d 346, 347-49 (Ind. 1964) (construing deeds
executed in 1908 and not mentioning the railroad company’s charter); Cincinnati, Indianapolis,
St. Louis, & Chi. Ry. Co. v. Geisel, 21 N.E. 470 (Ind. 1889) (failing to specify when the railroad
company was chartered or when the release was executed); Quick, 16 N.E. at 588 (reflecting that
the land at issue was acquired by the railroad company through condemnation “under the general
railroad law in force since 1853” 16); Douglass, 2 N.E. at 564 (failing to set forth the entirety of
the “deed” executed in June 1852 and noting that the record before it did not include any
information “concerning the nature of the charter” of the railroad company); Coburn, 91 Ind. at
560-61 (construing a release in conjunction with other evidence constituting part of the same
transaction); L. & G. Realty & Constr. Co. v. City of Indianapolis, 139 N.E.2d 580, 582-83 (Ind.
App. 1957) (en banc) (construing a deed executed in 1903 and not mentioning the railroad
company’s charter); Meyer, 113 N.E. at 444 (characterizing the dispute as whether a railroad
company acquires a fee or an easement from its adverse occupancy of land); Topping, 113 N.E.
at 422 (construing a release executed in 1866 and not mentioning the railroad company’s
charter).

        The more recent decisions discussed by plaintiffs as representing the modern view that
the grant of a right of way to a railroad company conveys an easement also fail to satisfy these
three criteria. See, e.g., Tazian v. Cline, 686 N.E.2d 95, 96, 98 (Ind. 1997) (construing a deed
executed in 1873 and not mentioning the railroad company’s charter); Brown v. Penn Cent.
Corp., 510 N.E.2d 641, 642-43 (Ind. 1987) (construing a deed executed in 1871 and not
mentioning the railroad company’s charter); Clark v. CSX Transp., 737 N.E.2d 752, 759 (Ind.
Ct. App. 2000) (remarking that “[t]he property statute in effect at the time of conveyance” was
enacted in 1852 and not mentioning the railroad company’s charter); Consol. Rail Corp. v.

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           Plaintiffs also describe a number of Indiana appellate court decisions in support of the
proposition that railroad companies obtain only an easement through condemnation. These
decisions, however, address condemnations occurring after the changes to the law in 1853, and
not condemnations occurring pursuant to a pre-1853 legislative charter. See, e.g., Cleveland,
Cincinnati, Chi. & St. Louis Ry. Co. v. Smith, 97 N.E. 164, 169 (Ind. 1912); Chi. & W. Mich.
R.R. Co. v. Huncheon, 30 N.E. 636, 637 (Ind. 1892); Cleveland, Cincinnati, Chi. & St. Louis Ry.
Co. v. Doan, 94 N.E. 598, 598 (Ind. App. 1911).

                                                -19-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 20 of 26




Lewellen, 666 N.E.2d 958, 962 (Ind. Ct. App. 1996) (construing post-1852 deeds and not
mentioning the railroad company’s charter), aff’d, 682 N.E.2d 779 (Ind. 1997); Lake Cty. Tr. Co.
v. Lane, 478 N.E.2d 684, 688 (Ind. Ct. App. 1985) (indicating that although the record before it
did not include the language of the quit claim deed executed in 1883, a later deed reflected that
an easement had been conveyed, and not mentioning the railroad company’s charter); Richard S.
Brunt Tr. v. Plantz, 458 N.E.2d 251, 252-53, 252 n.1 (Ind. Ct. App. 1983) (construing releases
executed in 1881 and noting that “the railroad’s charter does not provide for the amount of estate
conveyed”). Moreover, the court must ascertain the property interest acquired by the PIRC in
light of the law that existed at the time of the acquisition, and the Indiana appellate courts in
these modern decisions (and many of the earlier decisions plaintiffs discuss) construe
instruments executed under a different statutory regime than the one in place at the time the
releases at issue in this case were executed. Accord Tazian, 686 N.E.2d at 96, 98 (noting that
language used in a deed executed in 1873 was “consistent with the controlling property statute in
effect at the time of conveyance”); Clark, 737 N.E.2d at 759 (remarking that, “in construing a
deed,” courts in Indiana “consider[] the instrument relative to the statutes in effect at the time of
the conveyance”); see also Lewellen, 682 N.E.2d at 781 (acknowledging the contention that
deeds should be construed in light of “the statute in place at the time the deeds were executed,”
but “emphasiz[ing] that the language of the deeds in question . . . [did] not trace the cited
property statutes”).

        Had the Indiana Supreme Court not rendered the decisions in Newcastle and Rayl,
plaintiffs would have a compelling argument under Indiana precedent that the releases at issue in
this case conveyed easements. But those decisions exist, are directly applicable to the legislative
charter and releases at issue in this case, and have not been overruled.

          6. All of the Releases at Issue Conveyed Fee Simple Estates to the PIRC

        Because the holdings of Newcastle and Rayl remain authoritative with respect to releases
executed pursuant to the PIRC’s legislative charter, the court is bound by the Indiana Supreme
Court’s construction of the Richmond release when construing substantively similar releases.
Two of the releases at issue in this case are nearly identical to the Richmond release: the releases
executed by Benjamin Young on March 25, 1851, and John Sutherland on August 24, 1853.
Thus, as in Rayl, these releases conveyed a fee simple interest to the PIRC, and the Group 2
plaintiffs whose parcels are adjacent to the land acquired by the PIRC pursuant to these releases
do not have cognizable property interests affected by the Board’s issuance of the NITUs.

        Thirteen other releases include preprinted language nearly identical to the language in the
Richmond release, along with a third preprinted paragraph granting the PIRC a license and
permit to enter the described land and remove materials for the construction and repair of the
railroad: the 1848 Wright release, the Threlkell release, the undated Wright release, and the
releases executed by Peter Weever on July 1, 1848; John Sterritt on September 28, 1848; Abram
R. Phipps on October 6, 1848; Daniel R. Smith on November 2, 1848; George West on
September 28, 1848; Hilary L. Silvey on October 6, 1848; William Oaput/Opput on October 6,
1848; William Bradley on July 1, 1848; William Culbertson on November 2, 1848; and Leavin
Cropper on September 25, 1848. This additional paragraph closely tracks the language in section
15 of the PIRC’s legislative charter that identifies what could be relinquished in a release (“the

                                                -20-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 21 of 26




stone, gravel and timber, and other materials” on or near the railroad corridor). Thus, its
presence does not alter how the releases are construed and, in fact, plaintiffs do not so argue.
Consequently, as in Rayl, these releases conveyed a fee simple interest to the PIRC, and the
Group 2 plaintiffs whose parcels are adjacent to the land acquired by the PIRC pursuant to these
releases do not have cognizable property interests affected by the Board’s issuance of the NITUs.

        The four remaining releases at issue––the McCole release, the Shelley release, the Lovett
release, and the James release––require particularized analyses.

        The McCole release is substantively similar to the Richmond release with one exception.
After the description of land is the following handwritten clause: “and do further relinquish all
damage for earth taken out Side of the right of way and for earth put out Side the eighty feet or
for using other earth or materials taken to construct the Peru & Indianapolis Rail Road across
said land.” This clause does not change the character of the interest conveyed by the release, but
instead absolves the PIRC of the responsibility to pay damages for moving earth to construct its
railroad. Indeed, unless the clause can be construed to grant the PIRC permission to enter Mr.
McCole’s land for the purposes of taking and placing earth (not unlike the preprinted paragraph
in the majority of the releases at issue), it seems to offer the PIRC no greater protection than the
preprinted clause in which Mr. McCole relinquishes the right to damages “by reason of anything
connected with or consequent upon” the construction and repair of the railroad. Thus, the Group
2 plaintiffs whose parcels are adjacent to the land acquired by the PIRC pursuant to this release
do not have cognizable property interests affected by the Board’s issuance of the NITUs.

        The Shelley release is also substantively similar to the Richmond release with one
exception. After the description of land is the following handwritten clause: “the above
Relinquishment is given in consideration of the [PIRC] paying the undersigned Seventeen
Dollars & fifty cents and the company further agree to dig two pits for the undersigned where he
may designate for the use of his fences where the . . . same may cross.” The additional
agreements in this clause are covenants that are part of the consideration for the release. See
Columbia Club, Inc. v. Am. Fletcher Realty Corp., 720 N.E.2d 411, 417 (Ind. Ct. App. 1999)
(stating that agreements or promises “to do, or not to do, a particular act . . . relating to real
property that are created in conveyances” are covenants); see also Lake Erie & W. R.R. Co. v.
Priest, 31 N.E. 77, 78 (Ind. 1892) (holding that “stipulations contained in the proviso” of a deed,
in which a railroad company agreed to erect a fence and construct a farm crossing with cattle
guards within a year of constructing the railroad, “form[ed] a material part of the consideration
for the conveyance” and that “[t]he acceptance of the deed imposed a burden upon the land”);
Chi., Indianapolis & Louisville Ry. Co. v. Beisel, 106 N.E.2d 117, 120 (Ind. App. 1952)
(describing language appearing after a granting clause in a deed in which the grantee railroad
company agreed “to build and maintain fences, and crossings, and cattle guards” as a covenant);
Chi. & Se. Ry. Co. v. McEwen, 71 N.E. 926, 929 (Ind. App. 1904) (“[T]he covenants in the deed
and in the contract which is made a part thereof were covenants to build and maintain fences,
cattle guards, farm crossings, and maintain an underground passway. They were real covenants
running with the land, and, being made by the [railroad company] in part consideration of the
conveyance to it by appellee of a strip of land for right of way, they are supported by valuable
consideration”). They therefore do not alter the property interest conveyed by the release. Cf.
Cincinnati, Bluffton & Chi. R.R. v. Wall, 96 N.E. 389 (Ind. App. 1911) (indicating that the

                                                -21-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 22 of 26




remedy for breach of a covenant is damages or specific performance, not the forfeiture of the
estate granted in the instrument); accord 21 C.J.S. Covenants § 65 (2021). Accordingly, the
Group 2 plaintiffs whose parcels are adjacent to the land acquired by the PIRC pursuant to this
release do not have cognizable property interests affected by the Board’s issuance of the NITUs.

        The Lovett release is the first of two fully handwritten releases in the record before the
court. The granting clause of this release is substantively similar to the granting clauses in the
previously discussed preprinted releases and the Richmond release. What follows the
description of the land, however, is completely different from the other releases. The rest of the
Lovett release is prefaced by the following recitation: “The foregoing grant and release is upon
the following [agreement] and condition . . . .” Thereafter, several additional agreements
between Mr. Lovett and the PIRC are set out: (1) the PIRC agreed to pay Mr. Lovett $20 per
acre for the land used for the railroad corridor; (2) the PIRC agreed to either “plank up and keep
in repair pits at each and every place where any fence upon said tract of land now crosses the
track” or “enclose the road with a good fence and keep the same in repair”; (3) the PIRC agreed
to pay for any damages caused by the operation of the railroad and the absence or disrepair of
required fences; (4) the PIRC agreed to leave apple trees not in the railroad corridor unharmed;
(5) Mr. Lovett reserved all of the wood and timber on the land and in the railroad corridor;
(6) Mr. Lovett reserved the right to cross the railroad track; and (7) the PIRC agreed to pay Mr.
Lovett in two installments.

        As discussed with respect to the Shelley release, the promises made by the PIRC were
covenants made in consideration for the conveyance of the right of way through Mr. Lovett’s
land. See, e.g., Priest, 31 N.E. at 78; Beisel, 106 N.E.2d at 120; McEwen, 71 N.E. at 929. Mr.
Lovett’s reservations are also covenants. See, e.g., Conduitt v. Ross, 26 N.E. 198, 199 (Ind.
1885) (describing two types of covenants: one “in which a right attached to the estate or interest
granted is reserved,” and one in which “the grantee covenants that he will do some act on the
estate or interest granted which will be beneficial to the grantor”).

        Because a covenant does not change the property interest conveyed by the granting
clause, and because the granting clause in the Lovett release is substantively similar to the
granting clause in the Richmond release, the Lovett release, like the Richmond release, conveyed
a fee simple estate in the railroad corridor to the PIRC. Consequently, the Group 2 plaintiffs
whose parcels are adjacent to the land acquired by the PIRC pursuant to this release do not have
cognizable property interests affected by the Board’s issuance of the NITUs.

        The other handwritten release, the James release, bears many similarities to the Lovett
release. The terminology in the granting clauses and the subsequent clauses prefacing the
agreements are closely aligned: in the Lovett release, the granting clause uses the words “release
and relinquish” and the later clause refers to the conveyance as “[t]he foregoing grant and
release,” while in the James release, the granting clause uses the words “grant release and
relinquish” and the later clause refers to the conveyance as “[t]he foregoing release.” In
addition, both releases set forth the amount that the PIRC would pay to the landowners and when
the payments would be paid; the primary difference is that in the James release, these terms are
set forth immediately following the description of the land. Finally, the remaining provisions in
the James release track those set forth in the Lovett release: (1) Mr. James reserved all of the

                                               -22-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 23 of 26




wood and timber in the railroad corridor; (2) the PIRC agreed to dig two pits at locations of Mr.
James’s choosing to prevent the movement of livestock over the railroad tracks; and (3) Mr.
James agreed to provide the PIRC with timber and lumber to construct and plank up the pits.

        Although there are differences between the James and Lovett releases, those differences
are not sufficiently meaningful to warrant different analyses. Both instruments are releases and
both instruments include covenants that have no effect on the nature of the estate conveyed by
the granting clauses; indeed, plaintiffs do not contend otherwise. Accordingly, the Lovett release
conveyed a fee simple estate in the railroad corridor to the PIRC, and the Group 2 plaintiffs
whose parcels are adjacent to the land acquired by the PIRC pursuant to this release do not have
cognizable property interests affected by the Board’s issuance of the NITUs.

   7. The Respect That the Indiana Supreme Court Accords Its Prior Rulings Makes it
   Highly Unlikely That It Would Overrule Newcastle and Rayl or Decline to Extend the
           Holdings of Newcastle and Rayl to the Releases at Issue in This Case

         In short, the Indiana Supreme Court’s holdings in Newcastle and Rayl compel the
conclusion that all of the releases at issue in this case conveyed fee simple estates to the PIRC in
the railroad corridor. Nevertheless, plaintiffs contend that the Indiana Supreme Court would, if
given the opportunity, either overrule the holdings of those decisions or reconcile those holdings
with its more recent precedent regarding the construction of deeds such that it would conclude
that the releases at issue conveyed easements to the PIRC.

        As discussed above, the Indiana Supreme Court has not expressly or implicitly overruled
the collective holding of Newcastle and Rayl that a release that looks like the Richmond release,
executed pursuant to the PIRC’s legislative charter, conveys a fee simple estate in the railroad
corridor to the PIRC. That the court has not disturbed its original construction of the PIRC’s
legislative charter and the Richmond release is consistent with its position that “stability in the
decisions of a court of last resort is greatly to be desired.” Haskett v. Maxey, 33 N.E. 358, 359
(Ind. 1893). The court explained: “To overrule precedents which have become recognized rules
of property, and the basis of contract relations, unsettles titles, disturbs business transactions, and
introduces an element of uncertainty into the administration of justice from which the public
suffer great inconvenience.” 17 Id.; accord Nash Eng’g Co. v. Marcy Realty Corp., 54 N.E.2d

       17
          The Indiana Supreme Court is not alone in its concern with disturbing titles to real
property. Almost thirty years earlier, the United States Supreme Court observed:

               Where questions arise which affect titles to land it is of great importance
       to the public that when they are once decided they should no longer be considered
       open. Such decisions become rules of property, and many titles may be
       injuriously affected by their change. Legislatures may alter or change their laws,
       without injury, as they affect the future only; but where courts vacillate and
       overrule their own decisions on the construction of statutes affecting the title to
       real property, their decisions are retrospective and may affect titles purchased on
       the faith of their stability. Doubtful questions on subjects of this nature, when
       once decided, should be considered no longer doubtful or subject to change.


                                                 -23-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 24 of 26




263, 268 (Ind. 1944) (observing that “stare decisis . . . is most frequently applied where to disturb
the prior ruling would probably affect real property and vested rights”). Indeed, it has expressed
a broad commitment to adhering to its prior rulings:

       The doctrine of stare decisis requires that we apply “a principle of law which has
       been firmly established.” It is a maxim of judicial restraint supported by
       compelling policy reasons of continuity and predictability that we should be
       “reluctant to disturb long-standing precedent,” and “a rule which has been
       deliberately declared should not be disturbed by the same court absent urgent
       reasons and a clear manifestation of error.”

Layman v. State, 42 N.E.3d 972, 977 (Ind. 2015) (citations omitted) (quoting Marsillett v. State,
495 N.E.2d 699, 704-05 (Ind. 1986)); accord Prudential Ins. Co. of Am. v. Smith, 108 N.E.2d 61,
63 (Ind. 1952) (remarking that the court “is reluctant to overrule its own precedents if there is
any justification in legal principles by which they can be sustained”).

          In Newcastle, the Indiana Supreme Court held that releases and condemnation
proceedings authorized by the PIRC’s legislative charter conveyed fee simple estates to the
PIRC, and in Rayl, the court held that the PIRC acquired a fee simple estate in the railroad
corridor through the Richmond release. For over 140 years, the PIRC, the PIRC’s successors,
and owners of land adjacent to the portion of the railroad corridor conveyed by the Richmond
release have relied on the Indiana Supreme Court’s construction of the PIRC’s legislative charter
and the Richmond release to define their property interests. Any conflicting construction of
those documents would call into question the validity of those landowners’ titles, as well as the
titles of anyone else who acquired land adjacent to a portion of the railroad corridor originally
acquired by the PIRC pursuant to a release similar to the Richmond release. Given the Indiana
Supreme Court’s reluctance to disturb established rules of property and contractual relationships,
it seems unlikely that the court would have any interest in overturning the holdings of Newcastle
and Rayl, or otherwise reconstruing the PIRC’s legislative charter or releases executed by the
PIRC substantively identical to the Richmond release.

        For this reason, the court declines plaintiffs’ suggestion that it certify the proper
construction of the releases at issue in this case to the Indiana Supreme Court. Under the Indiana
Rules of Appellate Procedure, a federal court may certify a question to the Indiana Supreme
Court “when it appears . . . that a proceeding presents an issue of state law that is determinative
of the case and on which there is no clear controlling Indiana precedent.” Ind. R. App. P. 64
(emphasis added). While the Indiana Supreme Court has previously accepted a certified question
from this court, see Howard v. United States, 948 N.E.2d 1179 (Ind. 2011), there was no
controlling Indiana precedent on the question certified, see Howard v. United States, 100 Fed.
Cl. 230, 235 (2011), certified question accepted, 948 N.E.2d at 1179, certified question
answered, 964 N.E.2d 779 (Ind. 2012). This case “stands on a quite different footing” because

Minn. Mining Co. v. Nat’l Mining Co., 70 U.S. 332, 334 (1865); accord Arizona v. California,
460 U.S. 605, 620 (1983) (“Our reports are replete with reaffirmations that questions affecting
titles to land, once decided, should no longer be considered open”), decision supplemented, 466
U.S. 144 (1984).

                                                -24-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 25 of 26




the Indiana Supreme Court has previously construed the PIRC’s legislative charter and the
Richmond release, leaving “no doubt as to the proper application of the state’s law to the[] facts”
of this case. Toews v. United States, 376 F.3d 1371, 1381 (Fed. Cir. 2004). “Furthermore,
courts have a duty to decide the cases before them whenever it reasonably can be done. Basic
fairness, avoidance of unwarranted delay and the imposition of additional costs on the parties,
and conservation of judicial resources, all dictate that” courts should decide cases when they can
do so “on the law . . . .” Id.; cf. Lehman Bros. v. Schein, 416 U.S. 386, 390-91 (1974)
(remarking that while certifying questions to a state court when state law is in doubt “save[s]
time, energy, and resources and helps build a cooperative judicial federalism,” the decision to
use a state’s certification procedure “in a given case rests in the sound discretion of the federal
court”). The court can and will rule on the parties’ cross-motions for summary judgment on the
law. 18

                                       III. CONCLUSION

        For the reasons set forth above, the court DENIES plaintiffs’ motion for summary
judgment and, with respect to the claims of the Group 2 plaintiffs premised on the releases
addressed in this decision, GRANTS defendant’s cross-motion for summary judgment. Thus,
the following claims are dismissed with prejudice:

       •    Oldham: 4, 9, 10, 12, 15, 16, 19, 21, 24, 30, 32, and 33.

       •    Pressly: 2, 5, 8, 10, 11, 14, 17, 20, 21a, 21b, 24, 31a, 31b, 33, 37, 42, 43a,
            43b, 43c, 43d, 45a, 45b, 45c, 45d, 46, 47, 49, 51, 52, 59, 60, 65(b), 67a, 67b,
            71, 72 (the portion adjacent to the segment acquired by the PIRC via a
            release), 73, 75, 77, 82, 86, 90, 91, 96, 98, 100, 105, 107, 113, 114, 115, 119a,
            119b, 121, 125, 126, 131, 135a, 135c, 136, 139, 142, 152, 154, 157, 164,
            167a, 167b, 173, 177a, 177c, 178, 180, 183, 185, 186, 189, 190, 196, 197,
            201, 202, 209a, 209b, 212, 223, 224, 225, 226, 228, 230, 232, 233, 236a,


       18
           Although not binding on this court, one of the factors that the United States Court of
Appeals for the Seventh Circuit considers when deciding whether to certify a question to a state
court, including the Indiana Supreme Court, is whether the issue is one of broad significance or
applies only to the particular facts of the case before it. See, e.g., Harney v. Speedway
SuperAmerica, LLC, 526 F.3d 1099, 1101 (7th Cir. 2008); Erie Ins. Grp. v. Sear Corp., 102 F.3d
889, 892 (7th Cir. 1996). Plaintiffs contend that the construction of the releases at issue in this
case has broad application because there are hundreds of miles of railroad rights of way acquired
in Indiana via legislative charters that include provisions similar to those in the PIRC’s
legislative charter. However, this case does not concern every railroad corridor, legislative
charter, and release in Indiana. Rather, it concerns only the railroad corridor acquired by the
PIRC, between two cities that are less than eight-five miles apart, via releases, substantively
similar to one previously construed by the Indiana Supreme Court, executed pursuant to a
legislative charter approved before the enactment of Indiana’s statute governing the
incorporation of railroad companies. In other words, the decision in this case will have no effect
on conveyances accomplished under other legislative charters or later-enacted state statutes.

                                                -25-
       Case 1:19-cv-00471-MMS Document 121 Filed 12/03/21 Page 26 of 26




           236b, 245, 254, 257, 266a, 266b, 273, 277, 279, 281, 286, 289, 296, 297, 301,
           302, 303, and 307.

       •   Bradley: 11, 18, 20, 24, 27, 29, 34, 36, 37, and 38.

       •   ATS Ford: 1, 26, 28, 30, 31, 33, 36, 37, 41, 42, 43, 44, and 45.

The remainder of defendant’s motion is DENIED without prejudice.

       In addition, plaintiffs in each case shall, no later than Tuesday, April 6, 2021, file
updated notices identifying the claims in each group, as follows:

       •   The notices should reflect any corrections that may need to be made in light of
           defendant’s remarks in the footnotes in Exhibit 5 to its cross-motion for
           summary judgment.

       •   In Oldham, Bradley, and ATS Ford, the claims premised, at least in part, on
           conveyances other than the releases addressed in this decision should be
           included in the Group 3 table. See supra section II.A.

       •   The notices shall not include tables setting forth the claims of the Group 2
           plaintiffs.

       •   The notice in Pressly shall include a separate table for the surviving portion of
           claim 72 that includes the same information provided for the Group 1
           plaintiffs.

Finally, no later than Tuesday, April 6, 2021, the parties shall file a joint status report
suggesting a schedule for further proceedings with respect to Pressly claim 72 and the claims of
the Group 3 plaintiffs. The identical joint status report shall be filed in each case.

       IT IS SO ORDERED.

                                                      s/ Margaret M. Sweeney
                                                      MARGARET M. SWEENEY
                                                      Senior Judge




                                               -26-
